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                   IN THE UNITED STATES DISTRICT COURT

                 FOR THE SOUTHERN DISTRICT OF GEORGIA

                            (STATESBORO DIVISION)


UNITED STATES OF AMERICA

             Plaintiff,

      V.                                              Case No. 6:11 CR00021-2


JUAN CARLOS TRUJILLO-LOPEZ,


             Defendant.



                                      ORDER

      The defendant, Juan Carlos Trujillo-Lopez, has filed a notice of appeal. The

Court has previously written a denial on the CJA-24. The Court feels further

explanation would be helpful.

      On July 2, 2012, the defendant pled guilty to a lesser included offense of Count

2 of the Indictment, possession with intent to distribute methamphetamine. The

maximum custodial statutory penalty for this offense was 20 years imprisonment. On

August 29, 2012, the defendant was sentenced by the Court to 160 months

imprisonment. This sentence is within the defendant's advisory guidelines




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imprisonment range of 135 to 168 months. There was no variance imposed in this case.

      The defendant waived his right to appeal a sentence within the advisory

guidelines for imprisonment. A provision in the plea agreement (page 4) states,

"LIMITED WAIVER OF APPEAL. To the maximum extent permitted by federal

law, the defendant voluntarily and expressly waives the right to appeal the conviction

and sentence and the right to collaterally attack the sentence in any post conviction

proceeding, including a §225 5 proceeding, on any ground, except that: the defendant

may file a direct appeal of his sentence if it exceeds the statutory maximum; and the

defendant may file a direct appeal of his sentence if, by variance or upward departure,

the sentence is higher than the advisory sentencing guideline range as found by the

sentencing court."

      Therefore, in compliance with the agreement entered into by the Government

and defendant, the defendant has received the benefit of his bargain.

      The Court denies his right to a transcript in this matter.

             SO ORDERED this 11th day of October, 2012.




                                                B. Avant Edenfield
                                                Judge, United Stafes District Court,
                                                Southern District of Georgia


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